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§*~’“”1; vi IN THE UNITED STATES DISTRICT COURT 0
w *'*"" FOR THE WESTERN DISTRICT OF TENNESSEE” 1,: y ` '~; /j
EASTERN DIvIsIoN § O_,
<Y
UNITED STATES OF AN[ERICA, *
Pla;intiff, *
v. * CR. NO 03-10037-T
LANCE CAIN
Defendant. *_

 

MO'I`ION TO CONTINUE SENTENC?{G

 

 
  
  
  
  
 
     
  
   
 

Comes now Defendant by and through appointed couns and moves this Honorable Court
to continue the sentencing presently set for Monday, May 3, 2005. In support of this motion
Defendant would state:

l. Defendant is the sole defendant and w ` s sentencing following a plea, Defendant is
incarcerated in West Tennessee Detention Facili in Mason, Tennessee.

2. Defense counsel received a cop of the pre sentence report on Apri126, 2005. Counsel
has provided a copy to Defendant and et with Defendant to review the report on April 28, 2005.

3. Based upon couns s meeting with Defendant, counsel needs to obtain additional
records concerning a convic ' n shown in the pre sentence report. The validity of such conviction
would affect the c ` ` history category into which Defendant falls Although such category may
not impact the a

al sentence in this case as there is a negotiated plea, criminal history points and

categoriz 'on are considered by Bureau of Prisons When classifying an nnnateand_may @e a

Bmw
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de ` ntal impact on the terms and conditions of Defendant’ s custodial sentencer»¥ rif
cf C‘_- m

As the records for this offense are from the Circuit Court of Milwaul<ee §)cdi'§, Wis§onsiri 5 :

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fense counsel Mtiél§tWto obtain more information § s'uél_§com::tioné3

ch .~’-`3
DATE: Fhis document entered on the docket sheet ln compliance
b _ M lam nine 55 and/or sz(v) mch on __Q§_`_Lq_-Ob_

a James D. Todd
U.S. Distric! Judge

 

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4. Defense counsel has consulted with government counsel and there is no objection to the

relief requested herein
Prernises considered, Defendant moves that the sentencing date be continued for the grounds

set forth above. Defendant requests that the sentencing date be continued for approximately 30
days

Respectfully subrnitted, this the i § day of l Y ig di 2005.

  

Assistant Federal Defender

109 S. Highland Ave., Rm. B-B
Jackson, TN 38301
731-427-2556

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the foregoing was served upon all
interested parties by hand delivery or by mailing same, postage prepaid to the following:

Mr. Jerry Kitchen

Assistant United States Attorney
109 South Highland, Suite 300
Jackson, Tennessee, 38301

This the \/ §- day of move 2005.

j

       

M.` ianne Sn'l`o ers
Assistant Federal Defender

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case l:03-CR-10037 was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listedl

 

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

